      Case 2:06-cr-00200-MCE Document 147 Filed 01/21/09 Page 1 of 2


 1 BRUCE LOCKE
   Moss & Locke
 2 555 University Avenue, Ste 150
   Sacramento, California 95825
 3
   Attorney for Defendant
 4 DONALD EDGECOMB

 5
 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                               EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA                    §
10                                               §
   V.                                            §      CRIMINAL NO. S-06-200 MCE
11                                               §
   DONALD EDGECOMB,                              §      MOTION TO ASSIGN THIS CASE
12                                               §      TO A MAGISTRATE JUDGE
                                                 §
13                                               §
   _____________________________________
14
          Defendant, DONALD EDGECOMB, by and through his undersigned counsel, respectfully
15
   moves this Court to order the Clerk of Court to assign this case to a Magistrate Judge in accordance
16
   with Local Rules 72-302(b)(3), 58-420, and 58-421, and in support of this Motion would show the
17
   Court as follows:
18
          On October 23, 2008, the Government filed a Superceding Information charging Mr.
19
   Edgecomb with a violation of 12 U.S.C. § 2607(b) and (d)(1), a Class A Misdemeanor. On that same
20
   day, Mr. Edgecomb pled guilty to that charge pursuant to a plea agreement.
21
          Local Rule 72-302 provides in pertinent part as follows:
22
                         (a) General. It is the intent of this Rule that the Magistrate
23                Judges perform all duties permitted by 28 U.S.C. § 636(a), (b)(1)(A),
                  or other law where the standard of review of the Magistrate Judge’s
24                decision is clearly erroneous or contrary to law. . . .

25                         Magistrate Judges will perform the duties described in 28
                   U.S.C. § 636(b)(1)(B) and Fed. R. Civ. P. 53 upon specific
26                 designation of a District Judge or by designation in subsections (b)
                   and ( c) of this Rule.
27
                          (b) Duties to Be Performed in Criminal Matters by a
28                 Magistrate Judge Pursuant to 28 U.S.C. § 636(a), (b)(1)(A),
                   (b)(1)(B), and (b)(3), or Other Law.
      Case 2:06-cr-00200-MCE Document 147 Filed 01/21/09 Page 2 of 2


 1                         (1) . . . .
 2                         (2) . . . .

 3                         (3) All pretrial, trial, and post-trial matters in any misdemeanor
                   action (including petty offenses and infractions), see Fed. R. Crim. P.
 4                 58; L.R. Crim 58-421.

 5         Local Rule Crim 58-420 provides that “[a]ll citations, violation notices, complaints,
 6 informations or indictments charging misdemeanors shall be referred by the Clerk directly to the

 7 appropriate Magistrate Judge. See L.R. 72-302(b)(3).”
 8         We respectfully submit that since the Defendant is charged in this case in an Information that

 9 charges him with a Misdemeanor and since he has pled guilty to that charge, his case should under
10 the Local Rules be assigned for all post-trial matters to a Magistrate Judge.

11         The attorney for the Government has advised the undersigned attorney that he opposes the
12 granting of this motion.

13                                                 Respectfully submitted,
14

15 Date: January 15, 2009                            /S/ Bruce Locke
                                                   BRUCE LOCKE
16                                                 Attorney for Defendant Edgecomb

17
18         ORDER:

19                 The request is DENIED.
20
     Dated: January 20, 2009
21
                                                    ________________________________
22                                                  MORRISON C. ENGLAND, JR.
                                                    UNITED STATES DISTRICT JUDGE
23
24

25
26

27
28

                                                     -2-
